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 5                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
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 7    EYVONNE MARIA HOWARD,                             Case No. 2:19-CV-05953 (VEB)

 8                         Plaintiff,                   JUDGMENT

 9    vs.

      ANDREW M. SAUL, Commissioner of Social
10    Security,

11                         Defendant.

12
            For the reasons set forth in the accompanying Decision and Order, it is hereby DECREED
13   THAT (1) Plaintiff’s request for an order remanding this case for further proceedings is GRANTED

14   and the Commissioner’s decision is REVERSED; (2) the Commissioner’s request for an order

15   affirming the Commissioner’s final decision and dismissing the action is DENIED; (3) judgment is

     entered in Plaintiff’s favor and this matter is REMANDED for further proceedings consistent with
16
     the Decision and Order; and (4) this case is CLOSED.
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            DATED this 26th day of October 2020
18
                                       /s/Victor E. Bianchini
                                       VICTOR E. BIANCHINI
19                                UNITED STATES MAGISTRATE JUDGE

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                        JUDGMENT – HOWARD v SAUL 2:19-CV-05953-VEB
